     Case 3:23-cv-00017-ART-CSD               Document 45      Filed 04/10/25       Page 1 of 3




1
2
3
4
5
6
7
8                           IN THE UNITED STATES DISTRICT COURT

9                                  FOR THE DISTRICT OF NEVADA

10                                                   ***

11      DOREEN R. LAMPERT, Derivatively on                         Case No. 3:23-CV-00017-ART-CSD
        Behalf of CELSIUS HOLDINGS, INC.,
12
                                Plaintiffs,
13
                v.                                                 ORDER
14
       JOHN FIELDLY, NICHOLAS CASTALDO,
15     CAROLINE LEVY, HAL KRAVITZ,
       ALEXANDRE RUBERTI, CHERYL S.
16     MILLER, DAMON DESANTIS, JOYCE
       RUSSELL, and JAMES NEGRON,
17
                                Defendants,
18
                and
19
       CELSIUS HOLDINGS, INC.,
20
                                Nominal Defendant.
21
22             WHEREAS, the above-captioned litigation (the “Derivative Litigation”) alleges
23     facts and asserts claims that are also at issue in two other pending derivative actions, styled,
24     respectively, Jennifer Hammond and Dana Hepworth v. John Fieldly, et al., Case No. 2:24-
25     cv-00711-JAD-NJK (D. Nev.) (the “Hammond Action”) and Ingrao v. John Fieldly, et al.,
26     Case No. A-23-873736-C Dept. 6 (Clark Cnty., Nev.) (the “Ingrao Action” and,
27     collectively, with the Derivative Litigation and the Hammond Action, the “Derivative
28     Actions”);

                                                     Page 1 of 3
     Case 3:23-cv-00017-ART-CSD            Document 45         Filed 04/10/25     Page 2 of 3




1             WHEREAS, on December 3, 2024, the parties to this action filed a Joint Status

2      Report which reported (i) that the parties had executed a Stipulation and Agreement of

3      Settlement, setting out the terms of a global settlement of the Derivative Actions (the

4      “Settlement”); (ii) that the plaintiffs in the Ingrao Action intended to file their Motion for

5      Preliminary Approval in the District Court, Clark County, Nevada, on or before

6      December 13, 2024; and (ii) that, if the Settlement was approved in the Ingrao Action as

7      fair, reasonable, and adequate and in the best interests of Nominal Defendant Celsius

8      Holdings, Inc., the parties would jointly request that this Court enter an order dismissing

9      this action, Docket No. 40;

10            WHEREAS, on April 3, 2025, the Court in the Ingrao Action entered a Notice of

11     Entry and Final Order and Judgment finding the settlement of the Derivative Actions was

12     fair, reasonable, adequate, and in the best interest of Celsius;

13     ///

14     ///

15     ///

16     ///

17
18
19
20
21
22
23
24
25
26
27
28
                                                     Page 2 of 3
     Case 3:23-cv-00017-ART-CSD            Document 45        Filed 04/10/25     Page 3 of 3




1             NOW, THEREFORE,

2             1.      This case is DISMISSED with prejudice.

3             2.      The Clerk of Court shall close this case.

4             DATED this 10th day of April, 2025.

5
              IT IS SO ORDERED.
6
7                                                         ____________________________
8                                                         Anne R. Traum
                                                          United States District Judge
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
       Doreen R. Lampert, etc. v. John Fieldly, et al./Case No. 3:23-cv-00017-ART-CSD - Order
28
                                                    Page 3 of 3
